       Case: 4:22-cv-00062-SA Doc #: 261 Filed: 01/23/25 1 of 8 PageID #: 8672




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION


DYAMONE WHITE; DERRICK
SIMMONS; TY PINKINS;
CONSTANCE OLIVIA SLAUGHTER
HARVEY-BURWELL                                                                       PLAINTIFFS

VS.                                               CIVIL ACTION NO. 4:22-cv-00062-SA-JMV

STATE BOARD OF ELECTION
COMMISSIONERS; TATE REEVES
in his official capacity as Governor of
Mississippi; LYNN FITCH in her
official capacity as Attorney General of
Mississippi; MICHAEL WATSON in
his official capacity as Secretary of
State of Mississippi                                                               DEFENDANTS


 MEMORANDUM OF AUTHORITIES IN SUPPORT OF DEFENDANTS’ RESPONSE
          TO PLAINTIFFS’ MOTION FOR JUDICIAL NOTICE


                                        INTRODUCTION

       Consistent with the governing standard of inquiry in this Section 2 Voting Rights Act case,

the Court should take judicial notice of the entirety of the 2024 Mississippi Supreme Court Central

District General Election results—not just the vote counts for Kitchens and Branning as requested

by Plaintiffs. Viewed in their entirety, the 2024 Central District election results do not support a

violation of Section 2. To the contrary, they reaffirm that black voters in the Central District have

an equal opportunity to participate in the political process and elect Supreme Court Justices of

their choice.

       The 2024 election results submitted by Plaintiffs demonstrate that the majority of votes

cast in the Central District contest in the 2024 General Election were for black and black-preferred


                                                 1
       Case: 4:22-cv-00062-SA Doc #: 261 Filed: 01/23/25 2 of 8 PageID #: 8673




candidates. Those votes were split three ways among incumbent Jim Kitchens—an undisputed

black-preferred candidate—and challengers Ceola James and Abby Robinson, both of whom are

black. These results are a strong indication that if black voters had cast their votes cohesively for

a single candidate in 2024, that candidate would have won election to Position 3 on the Supreme

Court, obviating any need for a runoff. And even in the Runoff Election held two days before

Thanksgiving, the black-preferred candidate in that contest, Kitchens, lost his seat on the Court by

less than half a percentage point in a down-to-the-wire nailbiter—hardly a sign that black-preferred

candidates are not equally competitive in the Central District.

       Section 2 guarantees opportunity—not electoral success. It does not protect minority

voters from political fratricide. Where black voters abandon political cohesion in a fractured field,

the law provides no remedy. For these reasons and those set forth herein, the Court should take

judicial notice of the entirety of the 2024 Central District General Election results [Dkt. #258-1 at

3]; reject any notion that the 2024 Supreme Court elections are probative of any Section 2

violation; and proceed to enter judgment for Defendants.

                                          ARGUMENT

I. VIEWED IN THEIR ENTIRETY, THE 2024 CENTRAL DISTRICT ELECTION
   RESULTS DO NOT SUPPORT A SECTION 2 VIOLATION.

   A. The Court should judicially notice the entirety of the 2024 Central District General
      Election results—not just the vote counts for Kitchens and Branning.

       Defendants do not dispute that this Court may judicially notice the results of the 2024

Mississippi Supreme Court elections as certified by the State Board of Election Commissioners

(“SBEC”). However, Plaintiffs ask this Court to take judicial notice of only two facts regarding

the Central District election results from the General Election: (1) that Branning received 41.34%

of the vote for Position 3; and (2) that Kitchens received 35.58% of the vote for Position 3. Dkt.



                                                 2
        Case: 4:22-cv-00062-SA Doc #: 261 Filed: 01/23/25 3 of 8 PageID #: 8674




#259 at 3. In keeping with its charge to consider the “totality of the circumstances” and conduct

the “intensely local appraisal” required by Gingles, see N.A.A.C.P. v. Fordice, 252 F.3d 361, 367

(5th Cir. 2001), this Court’s consideration of the Central District election results should not be so

circumscribed. Rather, this Court should judicially notice the reported vote totals amassed by all

five candidates for Central District Position 3 in the 2024 General Election. Those vote totals

appear in the same source document that Plaintiffs submitted in support of their motion for judicial

notice—viz., the 2024 election results certified by the SBEC [Dkt. #258-1 at 3]—as follows:

     Candidate:                                   Reported Votes:             Percentage of Total:

     Jennifer B. Branning                                   147,892                          41.34%

     Byron Carter                                            25,390                           7.10%

     Ceola James                                             38,345                          10.72%

     Jim Kitchens                                           127,266                          35.58%

     Abby Gale Robinson                                      18,824                           5.26%

     TOTAL:                                                 357,717                         100.00%


       When the Court considers the vote totals for all five candidates—which it must do given

the requisite scope of inquiry in a Section 2 case, see Fordice, supra—it becomes apparent that

Jim Kitchens, Ceola James, and Abby Robinson together garnered 184,435 of the 357,717 total

votes, or 51.56% of the total vote.

       Plaintiffs’ expert, Dr. Orey, testified that Kitchens is a black-preferred candidate. Trial Tr.

Vol. 2 at 227, 246. Defendants’ expert, Dr. Bonneau, confirmed in his testimony the undisputed

fact that James is black. Trial Tr. Vol. 5 at 808. While Robinson’s racial identity is not in the trial

record, it cannot be disputed that her racial identity is also black, as may be confirmed by



                                                  3
          Case: 4:22-cv-00062-SA Doc #: 261 Filed: 01/23/25 4 of 8 PageID #: 8675




reference to (a) any one of many campaign-related news items appearing in the public domain 1 or

(b) a federal court decision related to a claim that Robinson brought against a bank, alleging that

it racially discriminated against her in its lending practices. 2 Thus, the majority of votes cast in

the Central District contest in the 2024 General Election were for black and black-preferred

candidates.

      B. The 2024 Central District election results reaffirm that black voters in the Central
         District have an equal opportunity to participate in the political process and elect
         Supreme Court Justices of their choice.

          Viewed in their entirety, the 2024 Central District election results do not support the notion

that black voters “have less opportunity than other members of the electorate to participate in the

political process and to elect representatives of their choice.” 52 U.S.C. § 10301(b). All that can

reasonably be inferred from the General Election is that black voters split their votes three ways—

viz., among Kitchens, James, and Robinson as black and black-preferred candidates.

          As noted above, Plaintiffs’ expert, Dr. Orey, testified that Kitchens is a black-preferred

candidate. Trial Tr. Vol. 2 at 227, 246. Dr. Orey further testified that “Blacks overwhelmingly

support the Black candidates when given the option,” id. at 228, and “typically Whites vote against

Black candidates where they usually lose,” id. at 250. If—as Plaintiffs contend it should be—Dr.

Orey’s testimony on these points is credited, it is reasonable to conclude that the votes received in

the General Election by Kitchens, James, and Robinson were the product of a three-way split of

the black vote in that contest. The General Election results thus demonstrate that if black voters

had coalesced around a single candidate, that individual would have won a majority of votes—and




1
    See, e.g., https://www.youtube.com/watch?v=RCpa6H-rSIk.
2
 See Robinson v. RiverHills Bank, Civil Action No. 3:21-CV-195-DPJ-LGI, 2022 WL 4234269, at *1-2, 8
(S.D. Miss. Aug. 16, 2022).

                                                    4
       Case: 4:22-cv-00062-SA Doc #: 261 Filed: 01/23/25 5 of 8 PageID #: 8676




the Position 3 seat—during the General Election, thereby negating any need for the Runoff

Election.

       Where, as here, it is reasonable to infer a three-way split of the black vote, there is “no

evidence of minority political cohesiveness.” See League of United Latin Am. Citizens, Council

No. 4434 v. Clements, 986 F.2d 728, 744 n.5 (5th Cir. 1993). See also Levy v. Lexington County,

S.C., 589 F.3d 708, 720 (4th Cir. 2009) (reaffirming that “minority voters may be racially polarized

but still lack political cohesion if their votes are split among several different minority candidates

for the same office”). And minority political cohesion (“Gingles II”) is an essential element of a

Section 2 claim. Fusilier v. Landry, 963 F.3d 447, 455 (5th Cir. 2020). See also Agee v. Benson,

No. 1:22-cv-272, 2023 WL 10947213, at *5 (W.D. Mich. Aug. 29, 2023) (reaffirming that “where

black voters are split between multiple candidates,” they “thus lack political cohesion,” and

“plaintiffs cannot rely on polarization to show cohesion”).

       The most logical reason that a black-preferred candidate did not win the General Election

in the Central District is because black voters did not vote cohesively in that district. And Section

2 does not provide a remedy for lack of minority political cohesion. To the contrary, minority

political cohesion is a requisite element for a prima facie case under Section 2. See Fusilier, 963

F.3d at 455. Plaintiffs have cited no authority for the proposition that Section 2 requires a court to

load enough black voters into a given district to ensure that multiple black and black-preferred

candidates can compete against each other and still win. That is simply not the law.

       Even in the Runoff Election between Branning and Kitchens, Branning won by only 1,402

votes—that is, by just over half a percentage point—taking 50.55% of the total vote to Kitchens’

49.45%. Dkt. #258-1 at 4. Branning’s razor-thin margin of victory in the Runoff Election hardly

proves that “the white majority votes sufficiently as a bloc to enable it . . . usually to defeat the



                                                  5
       Case: 4:22-cv-00062-SA Doc #: 261 Filed: 01/23/25 6 of 8 PageID #: 8677




minority’s preferred candidate.” Thornburg v. Gingles, 478 U.S. 30, 51 (1986) (emphasis added).

For one thing, the Runoff Election is only one election contest—it does not and cannot establish

any pattern regarding what “usually” occurs, as required by Gingles.

       The Court should also consider that runoff elections are themselves inherently unusual.

Especially one held on November 26, 2024—three weeks after a Presidential election and two

days before Thanksgiving. See Dkt. #258-1 at 4. As Plaintiffs’ documentary submission bears

out, see id. at 3-4, overall turnout in the Runoff Election was down 65% from the General Election

Central District contest held just three weeks prior. And Kitchens garnered 121,750 less votes in

the Runoff Election than did Kitchens, James, and Robinson (i.e., the black-preferred and black

candidates) in the General Election. See id. On this record—months after trial—that is all that

can be said with any degree of certainty about the Runoff Election. Everything else is speculation.

       As a final observation flowing from Plaintiffs’ documentary submission, the Court should

note that Kitchens’ defeat in the Central District Runoff Election—like Beam’s defeat in the

Southern District General Election, see id. at 6—cuts against Plaintiffs’ narrative, which they

repeated throughout the trial, that Mississippi Supreme Court contests present insurmountable

obstacles of incumbency. That was obviously not the case in 2024, when two incumbents fell to

challengers.

       Viewed in their entirety as part of the Court’s “intensely local appraisal” of the “totality of

circumstances” required by law, the 2024 Central District election results do not support a Section

2 violation. To the contrary, they further illustrate that the Central District lines, as currently

configured, provide for highly competitive Supreme Court elections in which black voters—




                                                 6
        Case: 4:22-cv-00062-SA Doc #: 261 Filed: 01/23/25 7 of 8 PageID #: 8678




should they opt to vote cohesively—have an equal opportunity to participate in the political

process and elect Supreme Court Justices of their choice. That is all Section 2 requires. 3

                                              CONCLUSION

        For all these reasons, the Court should take judicial notice of the entirety of the 2024

Central District General Election results [Dkt. #258-1 at 3]; reject any notion that the 2024

Supreme Court elections are probative of any Section 2 violation; and proceed to enter judgment

for Defendants.

        THIS the 23rd day of January, 2025.

                                                   Respectfully submitted,

                                                   STATE BOARD OF ELECTION
                                                   COMMISSIONERS, TATE REEVES, IN HIS
                                                   OFFICIAL CAPACITY AS GOVERNOR OF
                                                   MISSISSIPPI, LYNN FITCH, IN HER OFFICIAL
                                                   CAPACITY AS ATTORNEY GENERAL OF
                                                   MISSISSIPPI, AND MICHAEL WATSON, IN HIS
                                                   OFFICIAL CAPACITY AS SECRETARY OF
                                                   STATE OF MISSISSIPPI, DEFENDANTS

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                                                            STATE OF MISSISSIPPI

                                                   By:      s/Rex M. Shannon III
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                                                   Jackson, Mississippi 39205-0220

3
  “The purpose of section 2 is not to guarantee a minority group that it will elect candidates of its choice . .
. . [Citations omitted.] [T]he ‘potential to elect’ is all that is required under section 2.” Westwego Citizens
for Better Gov't v. City of Westwego, 946 F.2d 1109, 1117 n.9 (5th Cir. 1991) (quoting Gingles, 478 U.S.
at 50 n.17).

                                                       7
       Case: 4:22-cv-00062-SA Doc #: 261 Filed: 01/23/25 8 of 8 PageID #: 8679




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                                             AS GOVERNOR OF MISSISSIPPI, LYNN
                                             FITCH, IN HER OFFICIAL CAPACITY AS
                                             ATTORNEY GENERAL OF MISSISSIPPI, AND
                                             MICHAEL WATSON, IN HIS OFFICIAL
                                             CAPACITY AS SECRETARY OF STATE OF
                                             MISSISSIPPI


                               CERTIFICATE OF SERVICE

       I, Rex M. Shannon III, Special Assistant Attorney General and one of the attorneys for the
above-named State Defendants, do hereby certify that I have this date caused to be filed with the
Clerk of the Court a true and correct copy of the above and foregoing via the Court’s ECF filing
system, which sent notification of such filing to all counsel of record.

       THIS the 23rd day of January, 2025.

                                                           s/Rex M. Shannon III
                                                           REX M. SHANNON III




                                               8
